Case 2:16-cV-03657-.]S Document 1 Filed 07/01/16 Page 1 of 21

1844 (Rcv. 12)'12)

CIVIL CGVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor sup lenient the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court This t`o:'m, approved by the indicial Conference of the mted States in September 1974, ls required fur the usc ofthe C§eric of Court for the
purpose of initiating the civii docket sheer (SEE rNSmUCT:OA/S oN NE)¢T PAGE OF wis FORM)

 

I. (a) PLAINTIFFS
Gonza§ez, Nligue|

(b) County of Residence ofFirst Listcd Plainliff MOf'lngmB[y
(EXCEPT [N U.S. Fl¢A.lNT/FF CASES)

(C) Attol'n€ys (7".irm N¢zme, Adr!ress, and Tel`ephar:e Nrrmbsr)
Samuei A. Anyan, Jr.. Esquire - (215) 569-0900
WAPNER, NEWMAN, WJGRIZER, BRECHER & |V|ILLER
2000 Markei Sireet, Suite 2750, Philadeiphia, PA 19104

DEFENDANTS
United States of Amerlca and Shubhra Shelty, M.D.

County oE'Residence of First Listed Defendant
(.l'N U.S. PLAINTIFFCASES ONLY)

IN LAND CONDEMNA'I`ION CASES, USE TI~IE LDCATION OF
THE TRACT OF LAND INV()LVED.

NO'l`E:

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II. BASIS OF JURISDIC_TION (Place an “X” in One Box OJr.ly_) III. CITIZENSHIP OF PRINCIFAL PARTIES (Pl'a‘ce an "X” in One Boijr .P|'ar`nfyj'
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Original_
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VI. CAUSE OF ACTION

[.'1 2 Removed from
State Court

|:l 4 Reit:stated or
Reopened

|Il 3 Remandedi`rom
Appel|ate Court
FYP€¢'W)

28 U.S.C. §2671, et seq.

Brief` description of`cause.'

Federal Tort C|aims Act for Misdiagnosis of H|V

 

D 5 Transferred from
Annther District

Cife [l‘lC U.S. Civil Stntt.:te under Whit:h you are filing (Da nor cite jurisdictional statutes rmh'ss diversity)i

l:l 6 Multidistrict
Litiga£ion

 

 

 

 

 

 

VII. REQUESTED IN El cHEcK IF THIS ls A CLASS ACTIoN DEMAND $ CHECK YES only ifdemanded in complaint
COMPLAINT: UNDER RULE 23, F.R.cv.P. 20,000,000.00 .rURY DEMAND: cl Yes 151 No

Vlll. RELATED CASE(S) 4
IF ANY (Sec !nsrrrrcrzom). JUDGE DGCKET NUWER

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Case 2:16-cV-036517]l-`I.]I§ED §)T lpTEeSnéISTR{ §§ 85{%,{,16 Page 2 of 21

FOR THE EASTERN DlSTRICT OF PENNSYLVANIA _ DESIGNAT|ON FORM to he used by counsel to indicate the category of the case for the purpose of
assignment to appropriate calendar.

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Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning 10% or more of its stock`?

 

 

 

 

(Altach two copies of the Disclosure Statement Form in accordance with Fed.R.Civ.P. 7.1(a)) ch[l Nol§'
Does this case involve multidistrict litigation possibilitics? YesE| blow
RBLA 1"ED CASE, IF ANY;

Case Number: _ Jndge Date Tcrminatcd:

Civil cases arc deemed related when yes is answered to any ofthe following questions:

1. Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?
chl:l blow
2. Does this case involve the same issue of fact or grow out of the Satne transaction as a prior suit pending or \vithin one year previously terminated
action in this conrt?
chl:l Nol§k
3. Does this case involve thc validity or infringement of a patent already in suit or any earlier numbered case pending or within one year previously

terminated action in this court? Yesl:l Nolg

4. ls this case o second or successive habeas corpus, social security oppea|, or pro se civil rights case filed by the some individual?
Yesl:l Noli’

 

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A. F'ederal Questiou Cases': B. Dr`versi'ty Jurisdiction Ca.res:

1. El lndemnity Contract, Marine Contract, and All Other Contracts 1. t;l Insurance Contract and Other Contracts
2. CJ FELA 2. lJ Airplaue Personallnjory

3. El ]ones Act-Personallnjury 3. U Assanlt,Dei`amation

4. 121 Antitrust 4. Et Marine Personallnjury

5. lit Patent 5. 5 Motor Vehiole Personallnjury

6. Et Labor-ManagernentRelations 6. E| OtherPersonallnjury (Please specify)
7. D CiviERights 7. Et Products Liability

S. El Habeas Cotpus 8. 13 Products Liability_ Asbestos

9. El Securities Act(s) Cases 9. 13 All other Diversity Cases

10. til Sooial Security Review Cases (Please spectfy)

 

l 1111 All other Federal Question Cas____e s

(Pleasc specify} Fp`»l-€.(`C\,l C)\f’l’ ClC`Jdm(> A(/'l“
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ARB!TRATION CERTI F`ICATION
(Cl:eck Appropri'are Categmy}

 

 

l, v _ >a::‘-'-"""’:.rl'f , counsel of record do hereby cenil'y:
_B_:f,yxsuii`iit to"l:oeal Ci\lii Rule 53.2, Section 3{c)(2), that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed thc sum of
$150,000.00Fc1usive ofin'}rest and costs;
IJ Rclic utherthir_i'igo clary damages' is sought _.»-“ '''' "\ /:)
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di ;`orn -at-Law Attorncy l.D.#
NOTE: A triay;novo \ ill be a trial by jury only ifthcrc has been compliance with F.R.C.P. 38.

 

I certify that, to my knowlcdgc, the within case is hotr_t;lg,_t¢!d.to\a y:a:}e now pending or within one year previously terminated action in this court

except as noted above. < j
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FOR 'l`HE EASTERN DISTR]CT {)F PENNSYLVAN|A _ DESIGNATION FCRM to he used by counsel to indicate the category of the case for the purpose of
assignment to appropriate calendar.

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Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning l[l% or more of its stock?

 

(Attach two copies of the Disclosurc Staternent Fonn in accordance with Fed.R.CiV.P. 7-1(3)) Y°SE N°E
Does this case involve multidistrict litigation possibilities? Yele Nol§’
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Civii cases are deemed related when yes is answered to any of the following questions:

l. ls this ease related to property included in an earlier numbered suit pending or within one year previously terminated action in this court‘?

Yesl:l NoE’

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
action in this court?

Yesl:l Nolg
}. Does this ease involve the validity or infringement of a patent afready` m suit or any earlier numbered case pending or within one year previously

terminated action in this court? Yesl:} No|g

4. ls this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?
Yesl:l NoB’

 

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A. Federai Quesn'on Cases: B. Diversr'ty.!urisdiction Cases:
1. El Indernnity Contract, Marine Contraet, and All Other Contraets 1. El Insuranee Contract and Other Contracts
2. El FELA 2. lZl Airplane Personal Injury
3, lIl Jones Act~Personal Injury 3, El Assautt, Defamation
4. El Antitrust 4. lll Marine Personal Injury
5. 111 Patent 5. lIJ Motor Vehicle Personal lnjury
6. lZl Labor-Management Relations 6. 13 Other Personal Injury [Please specify)
7. El Civii Rights 7. lIl Products Liability
B. El Habeas Corpus S. E.l Produets Liability- Asbestos
9. lZl Seeurities Act(s) Cases 9. l;l All other Diversity Cases
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g (Please spccify) _E;~l-E,(`Q,l -TO V_’(l” chinn 53 [)|C/Jl*
:) ry ARBITRATION CERTIFICATION
;‘_,_,_...~_-»--».~ (Ckeck Appropr!'ate Category)

L \:>..»’“" _, counsel of record do hereby ccrtify:
rsu'int wtc l_.oeai Ci`vil Rule 53.2, Scotion 3(c)(?.), that to the best of my knowledge and heliet`, the damages recoverable in this civil action case exceed the sum of

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El Relie oL_er tham etary damages is sou:§"";; “"\ mp
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Attorney I.D.#

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IN THE UNITEI) STATES_ DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK I)ESIGNATION FORM

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\ ' V' :

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In accordance with the Civil .iustice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Forrn in all civil cases at the time of
fifing the complaint and serve a copy on ali defendants (See § l:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree With the plaintiff regarding said
designation, that defendant shail, With its first appearance, submit to the clerk of court and serve on
the plaintiff and ali other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

 

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus »~ Cases brought under 28 U.S.C. § 2241 through § 2255. ( )

(b) Sociai Security ~ Cases requesting review of a decision of the Secretary of Health
and Hurnan Services denying plaintiff Social Security Benefits. ( )

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2. ( )

(d) Asbestos - Cases involving claims for personai injury or property damage from
exposure to asbestos ( )

(e) Special Management - Cases that do not fall into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation of special
management cases.) ( )

(\A/

(f) Standard Management »~ Cases that do not fall into any one of the other tracks

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Case 2:16-cV-03657-.]S Document 1 Filed 07/01/16 Page 5 of 21

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

MIGUEL GONZALEZ

1250 Anders Road

Lansdale, PA 19446 :

Plaz'ntiff : CASE NO.

UNITEI) STATES OF AMERICA '
and
SHUBHRA SHETTY, M.D.
3900 Woodiand Avenue,
Philadelphia , PA 19104
Defendants
COMPLA]NT FOR DAMAGES UN])ER THE FEDERAL TORT CLAIMS ACT
Plaintiff, Miguel Gonzalez (“Gonzalez”), by and through counsel, for his Cornplaint against
Defendants, United States of America and Shubhra Shetty, M.D. states as follows:
INTROI)UCTI_ON
l. This is an action against Defendants, United States of America and Shubhra Shetty,
M.D., under the Federai Tort Claims Act, (28 U.S.C. §2671, et seq.) and 28 U.S.C. §l346(b){l), for
negligence and professional malpractice in connection with medical care provided to Plaintiff, Gonzalez,
at the Philadelphia VA Medical Center.
2. The claims herein are brought against the Defendants pursuant to the Federal Tort Claims
Act (28 U.S.C. §2671, et seq.) and 28 U.S.C. §l346(b)(l) for money damages as compensation for
personal injuries caused by the Defendants’ negligence
3. Plaintiff, Gonzalez, has fully complied With the provisions of 28 U.S.C. §2675 of the
F ederal Tort Claims Act. See Standard Form 95, attached as Exhibi¢‘ "A
4. This suit has been timely filed, in that plaintiff, Gonzalez, timely served notice of his

claim on both the Department ofVeterans Affairs and the United States Department of Justice Within two

years after such claim accrued.

 

 

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5. Plaintif`f, Gonzalez, is now filing this Complaint pursuant to 28 U.S.C. §240l(b) as a final
denial of Plaintift‘s administrative claim has occurred, due to the Department of Veterans Affairs’ failure
to make final disposition of the claim within six (6) months after the claim was tiled, pursuant to 28
U.S.C. §2675(a). See July 31, 2015 Correspondence Acknowledging Recefpt ofStandard Form 95,
attached as Exhibit “B

PARTIES, JURISDICTION AND VENUE

6. Piaintiff, Gonzalez, is a citizen and resident of the Cornmonwealth of Pennsylvania,
residing therein at the above address.

7. Defendant, United States of America, through its agency, U.S. Department ofVeterans
Affairs, operates the Philadelphia VA Medical Center located at 3900 Woodland Avenue, Philadelphia,
PA 19104.

S. Defendant, United States of America, through its agency, U.S. Department of Veterans
Affairs dfb/a Philadelphia VA Medical Center, includes its directors, officers, operators, administrators,
employees, agents and staff at the Philadelphia VA Medical Center.

9. Defendant, Shubhra Shetty, M.D., is now, and at all times material hereto, was a licensed
physician maintaining an office for the practice of medicine at the address stated above.

ll). At all times material hereto, Defendant, Shubhra Shetty, M.D., was in the course and
scope of her employment with Defendant, United States of America, through its agency, U.S. Department
of Veterans Affairs d/b/a Philadelphia VA Medical Center.

l l. At all times relevant hereto, Defendant, Shubhra Shetty, M.D., was the
agent/servant/employee ofDefendant, United States of Arnerica, through its agency, U.S. Department of
Veterans Affairs d/b/a Philadelphia VA Medical Center, under Defendant, United States of America,
through its agency, U.S. Department of Veterans Affairs dib/a Philadelphia-VA Medical Center’s control
`or right of control.

12. At all times relevant to this Complaint, Defenclants, Shubhra Shetty, M.D. and the

directors, oft`icers, operators, administrators employecs, agents and staff at the Philadelphia VA Medical

 

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Center were employed by and/or acting on behalf of the Defendant, United States of America, through its
agency, U.S. Department of Veterans Affairs d/b/a Philadelphia VA Medical Center.

l3. Defendant, United States of Arnerica, through its agency, U.S. Department ofVeterans
Affairs d/h/a Philadelphia VA Medical Center, is responsible for the negligent acts of their employees and
agents, including Defendant, Shubhra Shetty, M.D., under respondeat superior.

14. At all times relevant to this case, the directors, officers, operators, administrators,
employees, agents and staff, including Defendant, Shubhra Shetty, M.D., acted within their respective
capacities and scopes of employment for the Defendant, United States of America, through its agency,
U.S. Department ofVeterans Affairs dfbfa Philadelphia VA Medical Center.

lS. At all times relevant to this Complaint, Defendants, held themselves out to the Plaintiff
and eligible beneficiaries as providers of high quality health care services, with the expertise necessary to
maintain the health and safety of patients like the Plaintiff.

l6. The directors, oftieers, operators, administrators employees, agents and staff of
Defendant, United States of America, through its agency, U.S. Department of Veterans Affairs dib/a
Philadelphia VA Medical Center, including Defendant, Shubhra Shetty, M.D., negligently and/or
recklessly, directly and proximately caused personal injury to plaintiff Gonzalez, including both acts of
omissions and acts of commission

l7. Jurisdiction is proper under 28 U.S.C. §1346(b)(l).

lS. Venue is proper under 28 U.S.C. §l402(b) in that all, or a substantial part of the acts and
omissions forming the basis of these claims occurred in the Eastern District of Pennsylvania.

FAC'I`UAL ALLEGATIONS

l9. On or about November of 1998, Plaintiff came under the care of Defendants.

20. On or about November of 1998, Plaintiff was misdiagnosed by Defendants and was
informed that he had tested positive for Hurnan lmmunodeticiency Virus (“HIV”).

2l. Throughout several visits to Defendant Philadelphia VA Medical Center, between l998

and 20l4, Plaintiff`s positive HIV status was reaffirmed by Defendants.

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22. Several of Plaintiff’ s medical records between 1998 and 2014 at Defendant, Philadelphia
VA Medical Center, note positive HIV status, originally recorded in his chart by Defendant, Shubhra
sheay, M.D.

23. On or about November l(), 2014, Plaintiff was informed that he was not HIV positive and
that he had been improperly diagnosed on or around 1998.

24. As a result of the misdiagnosis by Defendants, Plaintiff’s life was significantly altered.

25. As a result of the misdiagnosis by Defendants, Plaintiff abandoned his family and
suffered from significant mental and emotional distressl

26. As a result of the misdiagnosis by Defendants, Plaintiff has received psychological
treatment and continues to receive psychological treatment

COUNT I
PLAINTIFF v. DEFENDANTS
NEGLIGENT INFLICTION OF EMOT_IONAL DISTRESS

27. Plaintiff hereby incorporates by reference all of the averments and allegations contained
in the foregoing paragraphs as though the same were set forth herein.

28. Defendants’ actions constitute outrageous conduct insofar as Plaintiff was misdiagnosed
with HIV by Defendants, and this diagnosis was reaffirmed in records and in person by Defendants at
several appointments over several years.

29. Defendants negligently caused Plaintiff Gonzalez emotional distress, and/or acted in
disregard of the probability of causing Plaintiff Gonzalez emotional distress in committing these acts.

30. As a further result of Defendants’ negligence as aforesaid, Plaintiff has suffered severe

mental and emotional distress that has physically manifested itself as symptoms, including, but not

limited to:
a. Anxiety‘,
b. Psychologieal Illness;
c. Nightmares;
d. Night Sweats;
e. Vomiting;

 

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f. ' Depression;
g. Suicidal Thoughts; and
h. Complete Withdrawal from Society
31. As a further result of Defendants’ negligence as aforesaid, Plaintiff has undergone great

physical pain, suffering and mental anguish, and will continue to endure the same for an indefinite time in
the future, to his great detriment and loss.

32. As a further result of Defendants/ negligence as aforesaid, Plaintiff has become
obliged to expend and/or incur large sums of money for medical attention and various purposes in an
attempt to effect a cure for the aforesaid injuries, and Plaintiff may be compelled to expend and/or incur
additional sums for such medical attention and purposes for an indefinite time in the future.

33. As a further result of Def`endants’ negligence as aforesaid, Plaintiff has suffered injuries
which are permanent, irreparable and severe.

34. As a further result of Defendants’ negligence as aforesaid, Plaintiff has or may suffer a
severe loss because of expenses which have been or may be reasonably incurred in obtaining ordinary and
necessary services in lieu of those which the Plaintiff would have performed, not for ineome, but for the
benefit of himself`, had he not been so grievously injured.

35. As a further result of Defendants’ negligence as aforesaid, Plaintiff has incurred
associated incidental expenses for which the Defendant is liable.

36. As a further result of Defendants’ negligence as aforesaid, Plaintiff has suffered a loss of
the enjoyment of life, and will continue to suffer a loss of the enjoyment of life in the future.

37. The acts and/or omissions set forth above would constitute a claim under the
Commonwealth of Pennsylvania.

38, Defendant is liable pursuant to 28 U.S.C. §1346(l:))(l).

COUNT II
PLAINTIFF v. DEFENDANT SHUBHRA SHETTY, M.D.
NEGLIGENCE -
39. Plaintiff hereby incorporates by reference all of the averments and allegations contained

in the foregoing paragraphs as though the same were set forth herein.
5

 

 

 

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40. Defendant Shubhra Shetty M.D. (hereinafter “Shetty”) owed Plaintiff a duty to possess
and exercise that degree of professional skill, care and knowledge ordinarily possessed and exercised by
and/or required of practitioners within the health care profession and/or within Shetty’s field of
Specialization.

41. Defendant Shetty owed Plaintiff a duty to provide him medical care in conformity with
the applicable standard of care.

42. Defendant Shetty breached the aforesaid duties to Plaintiff by committing the following
negligent acts or omissions:

a. Misdiagnosis of HIV;

b. Failure to properly and adequately test for I-IIV;

c. Failure to properly and adequately inform Plaintiff of his test results;

d. Failure to make appropriate treatment recommendations which would have
discovered the misdiagnosis',

e. Failure to order follow-up testing which would have discovered the misdiagnosis;

f. Failure to order additional diagnostic testing;

g. Failure to timely recommend additional diagnostic testing;

h. Failure to conduct a full and appropriate assessment of Plaintiff;

i. Failure to consider alternative diagnosis; and

j. Failurc to appreciate risk of harm posed to Plaintiff by misdiagnosing HIV.

43. Had the medical treatment provided to Plaintiff conformed to the requisite standards of
medical care, Plaintiff would not have been misdiagnosed with HIV.

44. As a further result of Defendant’s negligence as aforesaid, Plaintiff has undergone great
physical pain, suffering and mental anguish, and will continue to endure the same for an indefinite time in
the future, to his greatdetrirnent and loss.

45. As a further result of Defendant’s negligence as aforesaid, Plaintiff has suffered severe
mental and emotional distress that has physically manifested itself as symptoms, including, but not

limited to:

 

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a. Anxiety',
b. Psychological lllness;
c. Nightmares;
d. Night Sweats;
e. Vomiting',
f. Depression;
g. Suicidal Thoughts; and
h. Complete Withdrawal from Society.
46. As a further result of Defendant’s negligence as aforesaid, Plaintiff has become obliged

to expend and/or incur large sums of money for medical attention and various purposes in an attempt to
effect a cure for the aforesaid injuries, and Plaintiff may be compelled to expend and/or incur additional
sums for such medical attention and purposes for an indefinite time in the future.

47. As a further result of Defendant’s negligence as aforesaid, Plaintiff has suffered injuries
which are permanent, irreparable and severe. -

48. As a further result ofDefendant’s negligence as aforesaid, Plaintiff has or may suffer a
severe loss because of expenses which have been or may be reasonably incurred in obtaining ordinary and
necessary services in lieu of those which the Plaintiff would have performed, not for income, but for the
benefit of himself`, had he not been so grievously injured.

49. As a further result of Defendant’s negligence-as aforesaid, Plaintiff has incurred
associated incidental expenses for which the Defendant is liable.

50. As a further result of Defendant’s negligence as aforesaid, Plaintiff has suffered a loss of
the enjoyment of life, and will continue to suffer a loss of the enjoyment of life in the future.

51. The aforesaid acts of negligence by Defendant Shetty increased the risk of harm that
Plaintiff would suffer the severe and permanent injuries described herein.

52. The acts and/or omissions set forth above would constitute a claim under the
Commonwealth of Pennsylvania.

53. Defendant is liable pursuant to 28 U.S.C. §l346(b)(l).
7

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COUNT III
PLAIN'I`IFF v. DEFENDANT UNITED STATES OF AMERICA
M§_E_N.(,E

54. Plaintiff hereby incorporates by reference all of the averments and allegations contained
in the foregoing paragraphs as though the same were set forth herein.

55. Defendant, United States of America, through its agency, U.S. Department ofVeterans
Affairs d/b/a Philadelphia VA Medical Center, by and through its ostensible agent, agent, servant and/or
employee, defendant Shetty, owed Plaintiff a duty to possess and exercise that degree of professional
skill, care and knowledge ordinarily possessed and exercised by and/or required of practitioners within
the health care profession.

56. Defendant, United States of America, through its agency, U.S. Department ofVeterans
Affairs dib/a Philadelphia VA Medical Center, by and through its ostensible agent, agent, servant and/or
employee, defendant Shetty, owed Plaintiff a duty to provide medical care in conformity with the '
applicable standard of care.

5'7. Under a theory of respondeat superior, Defendant, United States of America, through its
agency, U.S. Department of Veterans Affairs dfb/a Philadelphia VA Medieal Center, by and through its
ostensible agent, agent, servant and/or employee, breached the aforesaid duties to Plaintiff by committing
all of the aforementioned negligent acts attributed to Defendant Shetty (Count II).

58. Had the medical treatment provided to Plaintiff conformed to the requisite standards of
medical care, Plaintiff would not have been misdiagnosed with HIV.

59. As a further result of Defendant’s negligence as aforesaid, Plaintiff has undergone great
physical pain, suffering and mental anguish, and will continue to endure the same for an indefinite time in
the future, to his great detriment and loss.

60. As a further result of Defendant’s negligence as aforesaid, Plaintiff has suffered severe
mental and emotional distress that has physically manifested itself as symptoms, including, but not
limited to:

a. Anxiety;

b. Psychological lllness;

 

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c. Nightmares;

d. Night Sweats;

e. Vomiting;
f. Depression;
g. Suicidal ri`houghts; and
h. Complete Withdrawal from Society.
61. As a further result of Defendant’s negligence as aforesaid, Plaintiff has become obliged

to expend and/or incur large sums of money for medical attention and various purposes in an attempt to
effect a cure for the aforesaid injuries, and Plaintiff may be compelled to expend and/or incur additional
sums for such medical attention and purposes for an indefinite time in the future.

62. As a further result of Defendant’s negligence as aforesaid, Plaintiff has suffered injuries
which arc permanent, irreparable and severe.

63. As a further result of Defendant’s negligence as aforesaid, Plaintiff has or may suffer a
severe loss because of expenses which have been or may be reasonably incurred in obtaining ordinary and
necessary services in lieu of those which the Plaintiff would have performed, not for income, but for the
benefit of himself`, had he not been so grievously injured._

64. As a further result of Defendant’s negligence as aforesaid, Plaintiff has incurred
associated incidental expenses for which the Defendant is liable.

65. As a further result of Defendant’s negligence as aforesaid, Plaintiff has suffered a loss of
the enjoyment of life, and will continue to suffer a loss of the enjoyment of life in the future.

66. The aforesaid acts of negligence by Defendant Shetty increased the risk of harm that
Plaintiff would suffer the severe and permanent injuries described herein.

67. The acts and/or omissions set forth above would constitute a claim under the
Commonwealth of Pennsylvania.

68. Defendant is liable pursuant to 28 U.S.C. §l346(b)(l).

 

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PRAYER FOR RELIEF
WHEREFORE, Plaintiff, Miguel Gonzalez, does hereby pray thatjudgment be entered in his
favor and against the Defendants as follows:

l) Medical expenses, pain and suffering, future impairment and loss of enjoyment of life

totaling $20,000,000.00, and,
2) Costs and attorney’s fees incurred in this civil action, together with such further and

additional relief at law or in equity that this Court may deem proper.

WAPNER, NEWMAN, WIGRIZER, BRECHER & MILLER

 

 

2000 Market St' et, Suite 2750
Philadel-ph'ia`:dPA 19103-4433
Identification No. 202503
Attorneys for Plaintiff

10

 

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EXHIBIT “A”

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C]_A[M OR AN§AGE lNSTRUCTlONS: Please read carefully the instructions on the FORM APF’ROVED
F D ' reverse side and Supp[y information requested on both sides of this OME NO~ 1195-9993

INJURY: OR DEATH form, Use additional Sheet(s} if necessary See reverse side for
additional instructions

 

 

 

1. Submif to Appropriafe Fedezal Ageney:

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2. Name. address ci claimant and claimants personal representative if any,
(See instructions on reverse). Number, Sireei. City, State and Zip code_

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3, TYPE OF EMPLO§MENT l 4. DF\TE..OF BlRTi'l 5. MARITAL STATUS 6. DATE AND DAY OF ACC[DENT Y. TiNlE (A.M. OR P.M.}
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B. BASlS OF CLAi|Vt (Siafe ln detail the known facts and circumstances ahehding the damage. injury. or death. identifyan persons and properly involved, the place of occurrence and

the cause thereot. Use additional pages if necessary). _
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PRDPERTY DAl'\llAGE

 

NAME AND ADDRESS OF OWNER, lF GTl‘lER THAN CLA|MANT (Number, Slree¥. Clty, Siaie, and Zip Code).

/\)one.

 

BRlEFLY DESCREBE THE PROPERT‘(. NAWRE AND EXTENT OF THE DAMAGE AND THE LOOAT|ON OF WHERE THE PROPERT¥ MAY BE |NBPECTED.
(See instrucilons en reverse side).

NG'D€.

 

10. PERSONAL INJURY.'WRONGFUL DEATH

 

S?ATE THE NATURE AND EXTENT OF EACH ll\iJURY OR CAUSE OF DEATH. Wl'llCl'i FOR|VlS 'E`l'lE ESAS|S OF 'i`HE Cl_AllV|. iF OTHER 'l'l'lAN CLAE|V|ANT. STATE THE NAME

OF THE |NJURED PERSON OR DECEDENT. 1
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12. (See instructions on reverse). AMOUNT OF CLAili'E {in dollars)

 

12a. PRGPER`W DAMAGE 12b. P-ERSONAL lNJURY 12c. WRONGFUL DEATH lZd: TOTAL (Fai|ure to specify may cause
forfeiture of your rights).

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|CERTEFY THAT THE AMOUNT OF CLA!M COVERS ONLY DAMAGES AND lNJURlES CAUSED BY THE lNClDENT ABOVE AND AGREE TO ACCEPT SAID AMOUNTIN

 

FULL SAT|SFACTJON AND FlNAL SE`l`l'LE|l.'EENT OF TH|S CLAIM” _
9 13b. PHONE NUMBER CF PERSON S|GNENG FORM 14. DATE OF SIGNATURE

 

 

WYAM 215-see --o<ie@ e/Qa/i§`

/ FRAUDULENT CLA!M CLA|M OR MAKENG FALSE STATEMENTS

Gl\l'|L PENALTY FOR PR?SENTING t CRl|lliNAL PENALTY FOR PRESENTENG FRAUDULENT
`[lie claimant ls liable to the United States Govemrneni for a civil penalty of notices than Fine, imprisonment or beth. (See 16 U.S.C. 237, 1001 .)

$E,DDD and not more then $10,06%]. plus 3 times ihe amount of damages sustained

 

 

byth Government. (See 31 U_S.C. 3729}.

 

 

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iNSURANCE CDVERAGE

 

|n order that subrogation claims may be adjudicated ii is essential that the oiairnant provide the fotiowing information regarding the insurance coverage ofthe vehicle cr property

 

 

15, Do you carry accident insurance? "(es if yos, give name end address of insurance corn any (l~iumber, Street, City. State, and ZIp Code) and policy number. No
P

/\//n

 

tti. Have you filed a claim with your insurance carrier lri this instance and if so, is it full coverage or deductibio?

/\//l»i

t?. lf deductible, state amount_

/v/n

m Yes E:§ No

 

 

iB. lt a claim has been filed with your carrier. what action has your insurer taken or proposed to take with reference to your cialm? tit ls necessary that you ascertain these facts).

/\//A

 

19. Do you carry puerto liability and properly damage insurance? l:l Yes lfyes, give name and address of insurance carrier lNurnber, Street. Clty. State, and Zip Code). l:l No

/\l/h

 

lNSTRUCTlDNS

Claims presented under the Federal Tort Claims Act should be submitted directly to the "appropriate Federal agency" whose
emptoyee(s) was involved in the incident if the incident involves more than one ciaimant, each claimant should submits separate

claim form.

Complete all items.- insert the word NONE where applicable

A CLAlM SHALL BE DEEMED TO HAVE BEEN F'RESENTED \NHEN A FEDERAL
AGENGY RECE|VES FROM A CLAEMANT, HlS DULY AUTHORiZED AGENT. OR LEGAL
REPRESENTAT|VE, AN EXECUTEU S`E'ANDARD FORM 95 OR OTH ER WR!TTEN
NOTIFICAT|ON OF AN ENClDENT, ACCOMPAN|ED BY A CE_AEM FOR MONEY

Failure to completely execute this form or to supply the requested material within
two years from the date the claim accrued may render your claim invalid. A claim
is deemed presented when lt is received by the appropriate agency, not when lt is
mailed.

lt instruction is needed in completing this form, the agency tisted in item fit on the reverse
side may be contacted Compiete regulations pertaining to claims asserted under the
Federai Tort Claims Act can be found in Title 28, Code of Federal Regulatlons, Part ‘l4.
litany agencies have published supplementing reguietions. if more than one agency ls
involved please state each agency.

The claim may be titled by a duly authoriied agent or other legal representative provided
evidence satisfactory to the Govornment is submitted with the claim establishing express
authority to act forfhe claimant A claim presented by an agent ortegal representative
must be presented in the name of the claimant if the claim is signed by the agent or
legal representative it must snow the title or fogel capacity ofthe person signing and be
accompanied by evidence of hlsi‘lier authority to present a claim on benaif of the claimant
as agent, executor, administrator. parent, guardian or other representative

it claimant intends to tile for both personal in§ury and property damage, the amount for
each must be shown in item number 12 of this form.

DAMAGES lN A §UM CEETAtN FOR iN.lURY TO OR LOSS OF PRGPERTY. PERSONAL
lNJURY. OR DEATH ALLEGED TO HAVE GCCURRED BY REASON OF THE INCIDENT.
THE CEAEM MUST BE PRESENTED TO Tl-EE APPROPR|A`FE FEDERAL AGENCY WlTHlN
Tll'll`O YEARS AFTER THE CLAlN`i ACCRUES.

"ihe amount claimed should he substantiated by competent evidence as foltows:

(a) in support of the claim for personal injury or death, the claimant should submit a
written report by the attending physician showing the nature and extent of the in]ory, the
nature and extent of treatment, the degree of permanent disability if any, the prognos|s.
and_ the period of hospitalization or incapacitation attaching itemized bills for medicai.
hospital. or burial expenses actually incurred.

(b) in support of claims for damage to property, which has been or can be economicatiy
repaired, the ciaimant should submit at least two itemized signed statements or estimates
by reliable. disinterested conoems. or, if payment has been made, the itemized signed
receipts evidencing payment

(c) in support of claims tor damage to property which is not economicatly repairable, or if
the property is test or destroyedf the claimant should submit statements as to the original
cost of the property, the date of porchase, end the value of the propertyl both before and
after the accident Such statements shootcl be by disinterested competent persons,
preferany reputabte dealers or ofHolals familiar with the type of property i:lamagedl or by
two or more competitive bidders, and should be certified as being just and correct.

(d) Failure to specify a sum certain witt render your claim invaiid and may result in
forfeiture of your rights.

 

PRlVACY ACT NDTICE

Thls Notlce ls provided in accordance with the Privacy Act, 5 U.S.C. 5523(€){3), and
concems the information requested in the letterto which this Notlce is attached
A. Authon'ly: the requested information is solicited pursuant to one or more of the
foilowing: 5 U.S.C. 301, 28 U.S_C. 501 et seq.. 28 U.S.C. 2671 et seq., 28 C.F.R.
Part 14. ' .

 

B. Prr'rici'pal' Purpose.' `ihe information requested is to be used in evaluating ciairns.

C. Roirtlne Use: See the Nottces of Systems ofRecords for the agency to whom you are
submitting this form for this information

D. E!fect of Far‘lure to Re.spond: Dtsc|osure is voiuntary_ Howe_ver, failure to supply the
requested information or to execute the form may render your claim "lrivalld."

 

PAF'ERWORK REDUCTION ACT NOTICE

this notice is sole y for the purpose of the Paperwork Reductlon Act. 44 U.S.C. 359'§. Publlc reporting burden for this collection of information is estimated to average E hours per
rcsponse. including the time for reviewing instructionsl searching existing data sources, gathering and maintaining the data needed. and compiellng and reviewing the collection of
information Send comments regarding this burden estimate or any other aspect of this collection ofinformation. including suggestions for reducing this burden. to the D|rector. torts
Bi'anch, Attention: F‘aperworl< Reducilori Stafl". Civil Dlvision, U.S. Department of dustlce, Washingtori, DC 20530 or to the Gfi`ice of Management and Budgei. Do not mail completed

form(s] to these addresses

 

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EXHIBIT “B”

 

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U.S. Department of Veterans Affairs
Office of Regiona| Counsei

 

Region 4
Janeecia Bing, Para|egal Specia|ist Regional Office and Ensurance Center
Direct Diai (215) 842-2000 Ext. 2144 5000 Wissahickon Avenue

Philadelphia PA 19144
{21~5)331-3137 Fax No.: (215)331_3141

July 31, 2015 '

In reply refer to:
Samuel A. Anyan, Jr., Esquire RC 4 Case No.: 11954
2000 Market Street
Suite 2750

Philadelphia, PA 19103

SUB]: GONZALEZ, Miguel (Iast 4 55 ~ 9136)
Adml°nistrative Tort Claim `

Dear Attorney Anyan:

This is to acknowledge receipt of the Standard Form 95, Claim for Damage, lnjui'y, or
Death, filed by you on ]uly 1, 2015 on behalf of your client, M_iguel Gonzalez. ln order for
us to further investigate and adjudicate this administrative tort claim, We request that you
forward the following information to support the claims of negligence, injury and
damages. (See 28 Code of Federal Regulations § 14. 4)

(1) a Written report by the attending physician setting forth the nature
and extent of treatment any degree of temporary or permanent
disability, the prognosis, period of hospitalization, and any diminished
earning capacity;

(2) itemized bills for medical and hospital expenses incurred, or itemized
receipts of payments for such expenses;

(3) if the prognosis reveals the need for future treatment, a statement of
expected expenses for such treatment

(4) a copy of the expert medical opinion you are relying on to support
the allegations of negligence and damages inthis case;

#_

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(5) copies of all medical records for treatment received by non-VA
hospitals and physicians from PERIOD OF ONE YEAR PRIOR TO
INCIDENT CONTINUING TO THE PRESENT DATE,'

(6) if a claim is made for loss of time from employment a Written
statement from Mr. Gonzalez’s employer showing actual time lost from
employment whether he Was a full-time or part-time `employee, and
Wages or salary actually lost;

(7) it a claim is made for loss of income and Mr. Gonzalez was selt~
employed, documentary evidence showing the amount of earnings
actually lost; '

(8) any other evidence or information Which may have a bearing on
either the responsibility of the United States for the injury or the damages
claimed. '

Please provide us with a copy of the fee agreement between you and NAME.

Upon receipt of all of the information and evidence outlined above, this office vvill conduct an
investigation of the'circumstances that gave rise to your claim and you Will be advised of our
decision at the earliest opportunity. Please note that pursuant to the Federal Tort Claims Act
(FTCA)*, a Federal Agency has six months from the date this claim was received in Which to
investigate a tort claim, luly l, 2015. The case has been assigned to Staff Attorney, Stephen M.
Pahides. `

lt` you have any further questions regarding this matter, you may write to the above address or call
Staff Attomey Stephen M. Pahides at 215~842~2000, ext. 2147. Thank you for your cooperation

Sincerely,

STEPHEN M. PAHIDES
Staff Attorney

By:

JANEECIA BING
Paralegal Speciaiist

*FTCA claims are governed by a combination of Federal and State laws. Some state laws may
limit or bar a claim or law sait. VA attorneys handling FTCA claims work for the Federal
governmeat, and cannot provide advice regarding the impact of state laws or slate filing
requirements

